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                     Exhibit A
RE: FW: FOIA Request No. 21-01042-F
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         Subject: RE: FW: FOIA Request No. 21‐01042‐F
         From: ED FOIA Manager <EDFOIAManager@ed.gov>
         Date: 3/16/2021, 1:49 PM
         To: "Jeremiah L. Morgan" <jmorgan@lawandfreedom.com>

         Good a ernoon,

         We are processing your request based on your original clariﬁca on. We conﬁrm we have accepted your request and there is no
         need to lessen the search. The appropriate ac on oﬃce and analyst have been assigned to your FOIA request 21‐01042‐F.

         Please let us know if you have any further ques ons or if we can provide any further clariﬁca on.


         Best,

         ED FOIA MANAGER (Mary)



         From: Jeremiah L. Morgan <jmorgan@lawandfreedom.com>
         Sent: Tuesday, March 16, 2021 1:18 PM
         To: ED FOIA Manager <EDFOIAManager@ed.gov>
         Cc: JT Mastranadi <JT@ci zensunited.org>; Dan Boyle <DanBoyle@ci zensunited.org>; wjo@mindspring.com
         Subject: Re: FW: FOIA Request No. 21‐01042‐F


         ED FOIA Manager ‐‐

         You stated that you “need a less broad search in order to complete the request.” In our experience, searches in
         email can be conducted for all emails to and from a par cular domain name such as “who.eop.gov.” It appears
         that you are contending that your oﬃce is incapable of performing such a search. Please conﬁrm whether our
         understanding that you are en rely unable to conduct the search is correct.

         Best regards,
         Jeremiah

         On 3/9/2021 6:06 PM, ED FOIA Manager wrote:
                 Good evening,

                 Can you please specify a list of employees? I understand you would like employees that use the who.eop.gov domain.
                 We need a less broad search in order to complete the request. If you haven’t responded to this le er by 3‐16‐2021,
                 your request will be administra vely closed.


                 Best,

                 ED FOIA MANAGER (Mary)

                 From: Jeremiah L. Morgan <jmorgan@lawandfreedom.com>
                 Sent: Tuesday, March 9, 2021 1:21 PM
                 To: ED FOIA Manager <EDFOIAManager@ed.gov>
                 Cc: JT Mastranadi <JT@ci zensunited.org>; Dan Boyle <DanBoyle@ci zensunited.org>; wjo@mindspring.com
                 Subject: Re: FW: FOIA Request No. 21‐01042‐F


                 ED FOIA Manager ‐‐



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RE: FW: FOIA Request No. 21-01042-F
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              Thank you for your prompt response.

              As you point out, our request sought correspondence between a par cular Educa on Department
              employee and any employee of the Execu ve Oﬃce of the President. We understand that relevant
              EOP employees use the who.eop.gov domain name for their email addresses. We presume that your
              system has the capability to search for emails to or from that par cular domain name. Accordingly,
              please consider our client's request to be for all emails sent (which are not exempt from disclosure in
              whole or in part) to or from email addresses with the who.eop.gov domain name.

              Best regards,
              Jeremiah

              On 3/5/2021 4:20 PM, ED FOIA Manager wrote:
                    Good a ernoon,

                    In the FOIA request descrip on it said “any employee of the Execu ve Oﬃce of the President.” Would
                    you mind clarifying what employees to speciﬁcally search for within the Execu ve Oﬃce of the
                    President? A er we receive this informa on, we will assign your request to the appropriate oﬃce(s) to
                    search for documents responsive to your request. If you haven’t responded to this le er by 3‐12‐2021,
                    your request will be administra vely closed.

                    Best,

                    ED FOIA MANAGER

                    From: Jeremiah L. Morgan <jmorgan@lawandfreedom.com>
                    Sent: Friday, March 5, 2021 3:50 PM
                    To: ED FOIA Manager <EDFOIAManager@ed.gov>
                    Cc: JT Mastranadi <JT@ci zensunited.org>; Dan Boyle <DanBoyle@ci zensunited.org>;
                    wjo@mindspring.com
                    Subject: Fwd: FW: FOIA Request No. 21‐01042‐F


                    To ED FOIA Manager ‐‐

                    We represent Ci zens United, which submi ed a FOIA request to your oﬃce on February
                    26, 2021.

                    Your response to their request, set out below, asserts that you are unable to process the
                    request because it does not reasonably describe the documents sought.

                    We do not agree that the FOIA request does not reasonably describe the records
                    requested.

                    Our client's FOIA request was for email correspondence (with a achments) between
                    Department of Educa on employee Claudia Chavez and the EOP during the period
                    speciﬁed. It is not necessary to iden fy a par cular topic to have "reasonably described"
                    the records that may be located with a "reasonable amount of eﬀort," but it appears from
                    your response that no eﬀort was made to determine whether responsive records exist.

                    Please advise whether you now will conduct the search.

                    Best regards,
                    Jeremiah Morgan




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RE: FW: FOIA Request No. 21-01042-F
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                    From: ED FOIA Manager [mailto:EDFOIAManager@ed.gov]
                    Sent: Monday, March 1, 2021 5:53 PM
                    To: Dan Boyle
                    Cc: ED FOIA Manager
                    Subject: FOIA Request No. 21‐01042‐F

                    Bossie, David
                    Ci zens United
                    1006 PENNSYLVANIA AVE SE
                    Washington, DC 20003

                    RE: FOIA Request No. 21‐01042‐F

                    Dear David Bossie,

                    This le er is in response to your request for informa on pursuant to the Freedom of Informa on Act
                    (FOIA), 5 U.S.C. § 552, dated 2‐26‐2021 and received in this oﬃce on 2‐26‐2021.

                    You requested the following:

                    “In accordance with the Freedom of Informa on Act, I hereby request the following informa on: All
                    emails and a ached documents to or from White House Liaison Claudia Chavez and any employee of
                    the Execu ve Oﬃce of the President. (Date Range for Record Search: From 01/20/2021 To
                    02/26/2021)”


                    We are unable to process your request at this me, because your request does not reasonably describe
                    the records that you have sought under the FOIA 5 U.S.C. § 552(a)(3)(A). In order to process your
                    request, we need clariﬁca on of the informa on that you requested. The informa on needed is as
                    follows:

                    What is the topic of the e‐mails you would like requested? What oﬃce/ people you would like
                    searched?

                     Once we receive the informa on, we will assign your request to the appropriate oﬃce(s) to search for
                    documents responsive to your request. If you haven’t responded to this le er by 3‐08‐2021, your
                    request will be administra vely closed.

                    If you have any ques ons, please contact the FOIA Service Center (FSC) at 202‐401‐8365 or
                    EDFOIAManager@ed.gov.

                    Best,

                    ED FOIA MANAGER (Mary)



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